    Case 1:21-cr-00380-CKK Document 217-1 Filed 05/10/23 Page 1 of 7
                                                                          1717 K Street, N.W.
                                                                          Washington, DC 20006-5350

                                                                          202.223.1200 main
                                                                          202.785.6687 fax




                                                                          John P. Marston
                                                                          202-261-7321 direct
                                                                          jmarston@foleyhoag.com



March 27, 2023


Via E-mail
Angela N. Buckner, Esq.
Assistant United States Attorney
Department of Justice, Criminal Division
Human Rights and Special Prosecutions
555 4th Street NW
Washington, DC 20530

        Re:         United States v. Brian Jeffrey Raymond, 21-CR-00380-CKK

Dear Angela:

        Enclosed are subpoenas for the appearance and oral testimony of Department of Justice
(DOJ) attorneys, Jamie Brinkmeyer Perry, former Trial Attorney, Human Rights and Special
Prosecutions, and Pragna Soni, Regional Director for Central and Eastern Europe, Overseas
Prosecutorial Development and Training (OPDAT), as well as the production of documents
related to their testimony, at a hearing on Brian Raymond’s Motion to Suppress Evidence (the
“Motion,” ECF No. 190, attached as Exhibit A) in the above captioned case.

       We understand that each of the enclosed trial subpoenas constitutes a “demand”
pursuant to 28 C.F.R. § 16.21 et seq. (DOJ Touhy Regulations) and offer this letter as a
statement in support of such demand.

        Background. As explained in further detail in the Motion and several other filings in
this case, the Motion is based on two arguments: (1) that the government violated Mr.
Raymond’s Fourth Amendment rights by seizing Mr. Raymond and his phones multiple times
on a single warrant, and (2) that the government violated Mr. Raymond’s Fifth Amendment
rights by compelling him to enter PIN codes and passwords into his phones after he had
invoked his right to remain silent. Both Ms. Perry and Ms. Soni were involved in advising law
enforcement to engage in multiple seizures of both Mr. Raymond and his phones. Therefore,
they possess information that is material and relevant to these claims.

       Summary of Expected Testimony. Pursuant to 28 C.F.R. § 16.23(c), we provide the
following as the “statement. . . by the party’s attorney setting forth a summary of the testimony
sought.”


 ATTORNEYS AT LAW                         BOSTON | DENVER | NEW YORK | PARIS | WASHINGTON | FOLEYHOAG.COM
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Angela Buckner
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        In his Motion, Mr. Raymond has alleged constitutional violations regarding the
multiple searches and seizures of both his person and his phones. These alleged constitutional
violations occurred after the initial seizure was completed by the agents. During that time, the
agents consulted Ms. Perry on multiple occasions seeking advice on how to proceed. See
Motion at 4-12; Defendant’s Motion to Withdraw Guilty Plea, ECF No. 119, at 8-15 (attached
as Exhibit B); Government’s Opposition to Defendant’s Motion to Withdraw Guilty Plea, ECF
No. 147, at 31-39 (attached as Exhibit C). Furthermore, Ms. Perry consulted with her then-
supervisor, Ms. Soni, at least one time between the first seizure and the second seizure. See
Government’s Opposition to Defendant’s Motion to Disqualify Trial Attorney Jamie Perry,
ECF 139, at 3 (attached as Exhibit D); Letter from Danielle L. Hickman and Angela N.
Buckner to Anthony J. Jay and John P. Marston, at 3 (Aug. 15, 2022) (attached as Exhibit E).

       Defense counsel for Mr. Raymond expect Ms. Perry and Ms. Soni to testify about the
following matters:

       -   The pre-warrant service advice Ms. Perry provided to the agents, and any
           instructions or directions she gave the agents regarding how to handle the warrant
           service.

       -   The training Ms. Perry or Ms. Soni had received, if any, related to the execution of
           search warrants, particularly cell phone search warrants.

       -   The experience Ms. Perry or Ms. Soni have, if any, in executing search warrants,
           particularly cell phone search warrants.

       -   What the agents told Ms. Perry after the initial seizure and prior to the decision to
           re-engage Mr. Raymond on the already-executed search warrant.

       -   What Ms. Perry told Ms. Soni after the initial seizure and prior to the decision to
           re-engage on the already-executed search warrant.

       -   Whether Ms. Perry knew that the warrant had been fully executed at the time she
           directed the agents to re-engage, including whether the agents had informed her
           that they had issued property receipts to Mr. Raymond.

       -   Whether Ms. Soni knew that the warrant had been fully executed at the time she
           approved of, or gave, the direction to have the agents re-engage, including whether
           she knew that the agents had issued property receipts to Mr. Raymond.

       -   What Ms. Perry told Ms. Soni about the June 6, 2020 warrant services, either on
           that date or thereafter.

       -   What advice Ms. Soni gave to Ms. Perry regarding the lawfulness of the second
           and third executions of the warrant.

       -   Whether and how Ms. Perry or Ms. Soni concluded that the re-engagement of Mr.
           Raymond was lawful.
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Angela Buckner
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        -   Whether the agents asked Ms. Perry to delay the search warrant until a technician
            could be present, or for any other reason, and whether and how Ms. Perry responded
            to that question.

        Considerations in determining whether production or disclosure should be made. The
testimony of Ms. Perry and Ms. Soni is appropriate and necessary in this case, and not
precluded under any provision of 28 C.F.R. § 16.26. Notably, the Court has found on two
occasions that the testimony sought from Ms. Perry is appropriate. See Memorandum and
Order on the Motion to Disqualify, ECF No. 142, at 4-5 (attached as Exhibit F) (“The Court
agrees with Defendant that at least as to some of these inquiries, only Ms. Perry ‘can fully
answer these questions.’. . . Accordingly, the Court finds that Ms. Perry has essential
information that other witnesses do not necessarily have, and it is probable that she would be
called by Defendant as a witness.”); Transcript of Arraignment and Status Conference, at 6
(Mar. 20, 2023) (“[O]bviously, [Ms. Perry] has information that’s relevant to the [suppression]
hearing.”) (attached as Exhibit G).

        Additionally, the production of the documents sought by the enclosed subpoenas is
similarly not precluded under any provision of 28 C.F.R. § 16.26. We note that the prosecution
team has previously asserted that any communications among DOJ attorneys and/or law
enforcement agents are subject to the attorney-client privilege and the work product doctrine.
But the government has selectively disclosed some communications among DOJ attorneys
and/or law enforcement agents concerning the search warrant and its execution. See
Government’s Opposition to Defendant’s Motion to Disqualify Trial Attorney Jamie Perry at
Exhibit 1, ECF 139-1 (attached as part of Exhibit D); Letter from Angela Buckner and
Meredith Mayer-Dempsey (Mar. 2, 2023) (attached as Exhibit H). The defense therefore
asserts that the government has waived any applicable privileges, and it is appropriate for the
government to comply with the document requests in the attached subpoenas.

       Thank you for your consideration and should you wish to discuss these matters further,
we are available at your convenience.

                                             Sincerely,



                                             ________________________
                                             John P. Marston
                                             Partner


cc:     Meredith Mayer-Dempsey, AUSA
        A. Joseph Jay III, Esq.
        Denise Giraudo, Esq.

Enclosures:
   - Subpoena for Jamie Brinkmeyer Perry
   - Subpoena for Pragna Soni
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AO 89 (Rev. 08/09) Subpoena to Testify at a Hearing or Trial in a Criminal Case


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                             DistrictDistrict
                                                        __________   of Columbia
                                                                              of __________
                   United States of America                                       )
                              v.                                                  )
                         Brian Raymond                                            )   Case No. 21-CR-380 (CKK)
                                                                                  )
                              Defendant                                           )

                      SUBPOENA TO TESTIFY AT A HEARING OR TRIAL IN A CRIMINAL CASE
        Jamie Brinkmeyer Perry
To:     U.S. Department of Justice
        Human Rights and Special Prosecutions Section
        1301 New York Avenue, NW
        12th Floor
        Washignton, DC 20530

        YOU ARE COMMANDED to appear in the United States district court at the time, date, and place shown
below to testify in this criminal case. When you arrive, you must remain at the court until the judge or a court officer
allows you to leave.
Place of Appearance: U.S. Dist. Ct. for Dist. of Columbia                             Courtroom No.:    28-A
                               333 Constitution Ave. NW,
                               Washington, DC 20001                                   Date and Time:   05/31/2023 1:00 pm

           You must also bring with you the following documents, electronically stored information, or objects (blank if not
applicable):

All documents and communications, including emails and text messages, related to the search and seizure warrant for
two cellular telephone devices (with designated Case Nos. 1:20-SW-711 and 1:20-SW-712 in the United States District
Court for the Eastern District of Virginia).




          (SEAL)


Date:          03/27/2023
                                                                                      CLERK OF COURT


                                                                                                Signature of Clerk or Deputy Clerk



The name, address, e-mail, and telephone number of the attorney representing (name of party)                             Brian Raymond
                                       , who requests this subpoena, are:
 John Marston
 1717 K Street, NW
 Washington, DC 20006
 jmarston@foleyhoag.com
 202-253-1104
                     Case 1:21-cr-00380-CKK Document 217-1 Filed 05/10/23 Page 5 of 7
AO 89 (Rev. 08/09) Subpoena to Testify at a Hearing or Trial in a Criminal Case (Page 2)

Case No. 21-CR-380 (CKK)

                                                                PROOF OF SERVICE

          This subpoena for (name of individual and title, if any)
was received by me on (date)                                     .

          ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                      on (date)                                    ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                                  .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                       .

My fees are $                                     for travel and $                                for services, for a total of $          0.00    .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                     Server’s signature



                                                                                                   Printed name and title




                                                                                                      Server’s address

Additional information regarding attempted service, etc:




         Print                         Save As...                    Add Attachment                                                       Reset
                     Case 1:21-cr-00380-CKK Document 217-1 Filed 05/10/23 Page 6 of 7
AO 89 (Rev. 08/09) Subpoena to Testify at a Hearing or Trial in a Criminal Case


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                             DistrictDistrict
                                                        __________   of Columbia
                                                                              of __________
                   United States of America                                       )
                              v.                                                  )
                                                                                  )   Case No. 21-CR-380 (CKK)
                         Brian Raymond                                            )
                              Defendant                                           )

                      SUBPOENA TO TESTIFY AT A HEARING OR TRIAL IN A CRIMINAL CASE
        Pragna Soni
To:     Department of Justice, Criminal Division
        Overseas Prosecutorial Development and Training (OPDAT)
        905 Pennsylvania Avenue NW
        Washington, DC 20530


        YOU ARE COMMANDED to appear in the United States district court at the time, date, and place shown
below to testify in this criminal case. When you arrive, you must remain at the court until the judge or a court officer
allows you to leave.
Place of Appearance: U.S. Dist. Ct. for Dist. of Columbia                             Courtroom No.:    28-A
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                               Washington, DC 20001                                   Date and Time:   05/31/2023 1:00 pm

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          (SEAL)


Date:          03/27/2023
                                                                                      CLERK OF COURT


                                                                                                Signature of Clerk or Deputy Clerk



The name, address, e-mail, and telephone number of the attorney representing (name of party)                             Brian Raymond
                                       , who requests this subpoena, are:
 John Marston
 1717 K Street, NW
 Washington, DC 20006
 jmarston@foleyhoag.com
 202-253-1104
                     Case 1:21-cr-00380-CKK Document 217-1 Filed 05/10/23 Page 7 of 7
AO 89 (Rev. 08/09) Subpoena to Testify at a Hearing or Trial in a Criminal Case (Page 2)

Case No. 21-CR-380 (CKK)

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          ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                      on (date)                                    ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                                  .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                       .

My fees are $                                     for travel and $                                for services, for a total of $          0.00    .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                     Server’s signature



                                                                                                   Printed name and title




                                                                                                      Server’s address

Additional information regarding attempted service, etc:




         Print                         Save As...                    Add Attachment                                                       Reset
